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 2
     Sacramento, CA 95814
 3   (916) 447-1920
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 4
     Attorney for PHUONG PHAM
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-10-284 MCE
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE THE STATUS
10                                    ) CONFERENCE
     PHUONG PHAM,                     )
11
                                      ) Date: 1-6-2011
12
                     Defendant.       ) Time: 9:00 a.m.
     ================================) Judge: Hon. Morrison C. England
13
            It is hereby stipulated between the parties, Assistant United States Attorney Michael
14

15
     Beckwith and Michael Long, attorney for PHUONG PHAM, that the status conference date of

16   December 9, 2010, should be continued until January 6, 2011.
17          Mr. Long is presently in trial in Dept. 10 in Sacramento County Superior Court. The trial
18
     should be finished by the first week of January. Mr. Pham will plead guilty on January 6th.
19
            IT IS STIPULATED that the period of time from the signing of this Order up to and
20
     including the new status conference date of January 6, 2011, be excluded in computing the time
21

22   within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)

23   and Local Code T4, for ongoing preparation of counsel.
24
     Dated: December 6, 2010                               Respectfully submitted,
25
                                                           /s/ Michael D. Long__________
26                                                         MICHAEL D. LONG
                                                           Attorney for Mr. Pham
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 1   Dated: December 6, 2010
                                               BENJAMIN WAGNER
 2
                                               United States Attorney
 3
                                               /s/ Todd Leras____
 4                                             TODD LERAS
                                               Assistant U.S. Attorney
 5

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 4
                              IN THE UNITED STATES DISTRICT COURT
 5
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,                   ) No. CR-S-10-284 MCE
 7                   Plaintiff,                      )
                                                     ) ORDER
 8
             v.                                      )
 9                                                   ) Date: 1-6-11
     PHOUNG PHAM,                                    ) Time: 9:00 a.m.
10                                                   ) Judge: Hon. Morrison C. England
                     Defendant.                      )
11
     ================================)
12
             UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     status conference presently set for December 9, 2010, at 9:00 a.m. be continued to January 6, 2011,
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     at 9:00 a.m. Based on the representations of counsel and good cause appearing therefrom, the Court
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     hereby finds that the failure to grant a continuance in this case would deny continuity of defense
16
     counsel, as he will be unavailable on the presently set date.
17
             The period of time from the signing of this Order up to and including the new status
18
     conference date of January 6, 2011, is excluded in computing the time within which trial must
19
     commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7) and Local Code T4, for
20
     ongoing preparation of counsel.
21

22
     Dated: December 7, 2010

23                                               __________________________________
                                                 MORRISON C. ENGLAND, JR
24
                                                 UNITED STATES DISTRICT JUDGE
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